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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                            CIVIL ACTION NO.

   SECURITIES AND EXCHANGE COMMISSION,

                                    Plaintiff,

   V.



   BRIAN DAVISON,
   BARRY M.RYBICKI,
   EQUIALT LLC,
   EQUIALT FUND,LLC,
   EQUIALT FUND II, LLC,
   EQUIALT FUND III, LLC,
   EA SIP,LLC,

                                    Defendants,and                    UNDERSEAL


   128 E. DAVIS BLVD,LLC,
   310 78TH AVE,LLC,
   551 3D AVE S,LLC,
   604 WEST AZEELE,LLC,
   2101 W.CYPRESS,LLC,
   2112 W.KENNEDY BLVD,LLC,
   5123 E. BROADWAY AVE,LLC,
   BLUE WATERS TI,LLC,
   BNAZ,LLC,
   BR SUPPORT SERVICES,LLC,
   BUNGALOWS TI,LLC,
   CAPRI HAVEN,LLC,
   EA NY,LLC,
    EQUIALT 519 3RD AVE S., LLC,
    MCDONALD REVOCABLE LIVING TRUST,
    SILVER SANDS TI,LLC,
    TB OLDEST HOUSE EST. 1842, LLC,

                                    Relief Defendants.




     COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF AND DEMAND FOR JURY
                                           TRIAL

          Plaintiff Securities and Exchange Commission("Commission")alleges:
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                                      I.      INTRODUCTION

      1.      The Commission brings this emergency action to halt an ongoing fraud conducted by

   EquiAlt LLC ("EquiAlt"), a private real estate investment company. Beginning in 2011 to the

   present. Defendants EquiAlt, Brian Davison ("Davison") and Barry Rybicki ("Rybicki")

   conducted a Ponzi scheme raising more than $170 million from over 1,100 investors nationwide,

   many ofthem elderly, through fraudulent unregistered securities offerings. Defendants promised

   investors that substantially all of their money would be used to purchase real estate in distressed

   markets in the United States and their investments would yield generous returns. Instead, EquiAlt,

   Davison, and Rybicki misappropriated millions in investor funds for their own personal use and

   benefit.


     2.       Despite receiving over $170 million in investor funds, the revenues generated by the

   Funds during the last nine years have been significantly less than the amounts of interest owed to

   investors. Without sufficient revenues to pay the money owed to investors, the Defendants

   resorted to fraud, using new investor money to pay the returns promised to existing investors.

   Meanwhile, Davison and Rybicki paid themselves millions from the Funds and spent it on luxury

   automobiles, fine jewelry and chartering private Jets, among other expenditures.

      3.      In addition to conducting a Ponzi scheme and misappropriating investor money,

   Davison and Rybicki made material misrepresentations and omissions to investors.               The

   investments—unregistered securities in the form of debentures issued by four real estate

   investment funds managed by EquiAlt—were falsely touted to investors as "secure,""safe,""low

   risk," and "conservative." Moreover, Davison and Rybicki paid significant sales commissions to

   numerous unregistered sales agents who sold investments to unaccredited and unsophisticated

   investors in various states.
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      4.      At all times relevant to the allegations herein, Davison and Rybicki exercised control

    over the business operations of EquiAlt and its four real estate investment funds: EquiAlt Fund,

    LLC ("Fund 1"), EquiAlt Fund II, LLC ("Fund 2"),' EquiAlt Fund III ("Fund 3"), and EA SIP,
    LLC ("EA SIP Fund")(the "Corporate Defendants"). More specifically, Davison controlled the

   accounting and finances for these Funds as well as their bank accounts. He was also responsible

   for making Ponzi payments to investors. Rybicki controlled communications with investors and

   executed agreements with investors, including debentures and subscription agreements containing

    numerous representations and warranties.

      5.     Investor money has been misused and misappropriated in several distinct ways,

   including(a) money from one Fund used to purchase real estate for another Fund or for third party

   entities owned by Davison;(b) money from one Fund used to pay investors in another Fund;(c)

   substantial undisclosed commissions paid to unregistered sales agents;(d)substantial undisclosed

   fees such as due diligence fees, management fees, success fees, auction fees, underwriting fees,

    purchase discount fees, and bonuses paid to EquiAlt and Davison; and (e) substantial improper

   distributions of cash to Davison and Rybicki. As a result of this misuse and misappropriation of

    millions of dollars of investor funds. Fund 1, Fund 2, and the EA SIP Fund are in a precarious

   financial condition.


      6.     The combined assets of EquiAlt and its three active funds(Fund 1, Fund 2, and the EA

   SIP Fund) are insufficient to repay the principal and interest owed to approximately 1,100

   investors. By December 2020, investors in these three funds will be owed approximately $167

    million in principal and interest. However, as of November 2019, the assets of EquiAlt, Fund 1,

   Fund 2, and the EA SIP Fund total only $6.8 million in cash and real property purportedly worth

   $145 million, which is based on EquiAlfs own inflated valuation. Thus, the combined assets of
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    the three active Funds are insufficient to pay investors the principal and interest owed to them at

    the end of this year.

      7.      As a result ofthe conduct alleged in this Complaint, all the Defendants violated Sections

   5(a) and 5(c) of the Securities Act of 1933 ("Securities Act"), 15 U.S.C. §§ 77e(a) and 77e(c);

    Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a); and Section 10(b) of the Securities

    Exchange Act of 1934 ("Exchange Act"), 15 U.S.C. § 78j(b), and Exchange Act Rule lOb-5, 17

    C.F.R. § 240.10b-5. Defendants Davison and Rybicki also, directly and indirectly, violated the

    anti-fraud provisions of the Exchange Act as Control Persons of EquiAlt under Section 20(a) of

   the Exchange Act, 15 U.S.C. § 78t(a). Finally, Defendants EquiAlt, Davison, and Rybicki have

    also aided and abetted violations of Section 15(a)ofthe Exchange Act, 15 U.S.C. § 78o(a). Unless

   restrained and enjoined, EquiAlt, Davison,and Rybicki are reasonably likely to continue to violate

   the federal securities laws.


      8.      Relief Defendants have all received proceeds of the fraud without any legitimate

   entitlement to the money.

      9.      To halt this ongoing fraud, maintain the status quo, and preserve investor assets, the

    Commission seeks several forms of relief, including asset freezes, appointment of a Receiver,

   sworn accountings, and an order prohibiting the destruction of documents. The Commission also

   seeks permanent injunctions and civil money penalties against all the Defendants, and

    disgorgement of ill-gotten gains against the Defendants and Relief Defendants.

                        II.       DEFENDANTS AND RELIEF DEFENDANTS


       A. Defendants


       10.    DAVISON is a resident of Tampa, Florida. During all relevant times Davison was

    EquiAlt's owner and Chief Executive Officer and together with Rybicki maintained control over
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    the Corporate Defendants. Davison personally controlled the bank accounts, finances, and

    accounting for each of the Corporate Defendants. Davison is not, and has never been, registered

    with the Commission, FINRA, or any state securities regulator. Davison, through his ownership

   of EquiAlt, owns Fund 1, Fund 2, Fund 3, and the EA SIP Fund.

      11.     RYBICKI is a resident of Phoenix, Arizona. During all relevant times, Rybicki was

    EquiAlt's Managing Director and President of Arizona Operations and together with Davison

    maintained control over the Corporate Defendants. In this capacity, Rybicki reviewed and

   approved marketing materials provided to investors, personally signed subscription agreements

    with investors and supervised the relationships with third party advisors selling the Funds. Rybicki

    also communicated directly with investors, and raised money from investors for the Funds.

    Rybicki is the owner of Relief Defendant BR Support Services, LLC, which provides investor-

   related services to EquiAlt, and has collected almost $24 million in commissions from the Funds.

   In addition to the commission payments, Rybicki also received checks for more than $3.4 million

   from the Funds for "return of principal." Rybicki is not, and has never been, registered with the

   Commission,FINRA,or any state securities regulator.

      12.     EQUIALT is a Tampa, Florida-based limited liability company not registered with the

   Commission in any capacity with no publicly traded stock. Formed in 2011, EquiAlt's primary

    business is to manage Fund 1, Fund 2,Fund 3,and the EA SIP Fund,and has approximately twelve

   employees in three states. During all relevant times, EquiAlt has been owned by Davison.

      13.     FUND 1 is a Nevada limited liability company formed on May 23, 2011. On July 19,

   2011, Fund 1 filed with the Commission a Form D notice of exempt offering of debentures

    pursuant to Rule 506 of Regulation D of the Securities Act seeking to raise $50 million from

   investors. On August 13, 2019, Fund 1 filed an amended Form D notice under Rule 506 of
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    Regulation D seeking to raise $125 million from investors. Fund 1 has raised approximately $110

    million from 733 investors during the period from January 2011 through November 2019.

       14.    FUND 2 is a Nevada limited liability company formed on April 24, 2013. On April 4,

    2016, Fund 2 filed with the Commission a Form D notice ofexempt offering debentures pursuant

    to Rule 506 of Regulation D ofthe Securities Act seeking to raise $20 million from investors. On

    September 1, 2017, Fund 2 filed an amended Form D notice under Rule 506 of Regulation D

    seeking to raise $50 million from investors. Fund 2 has raised approximately $39 million from

   266 investors during the period from 2013 through November 2019.

      15.     FUND 3 is a Nevada limited liability company formed on June 26, 2013. Fund 3(now

   closed)raised approximately $2.6 million from investors during the period from July 2013 through

    December 2015.


      16.    EA SIP Fund is a Nevada limited liability company formed on May 23, 2016. On

    August 8, 2016, the EA SIP Fund filed with the Commission a Form D notice of exempt offering

   debentures pursuant to Rule 506 of Regulation D ofthe Securities Act seeking to raise $50 million

   from investors. The EA SIP Fund has raised $21.7 million from 138 investors during the period

   from April 2016 through November 2019.

      B. Relief Defendants


      17.    128 E DAVIS BLVD, LLC is a Florida limited liability company which received

   investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

   the Funds.


      18.    310 78TH AYE,LLC is a Florida limited liability company which received investors'

   proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.
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       19.    551 3RD AVE S,LLC is a Florida limited liability company which received investors'

    proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.

      20.     604 WEST AZEELE, LLC is a Florida limited liability company which received

    investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

    the Funds.


      21.     2101 W. CYPRESS, LLC is a Florida limited liability company which received

    investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

    the Funds.


      22.     2112 W.KENNEDY BLVD,LLC is a Florida limited liability company which received

    investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

   the Funds.


      23.     5123 E. BROADWAY AVE, LLC is a Florida limited liability company which

    received investors' proceeds emanating from the Defendants' securities fraud and holds assets

    belonging to the Funds.

      24.     BLUE WATERS TI, LLC is a Florida limited liability company which received

   investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

   the Funds.


      25.     BNAZ,LLC is a Florida limited liability company which received investors' proceeds

   emanating from the Defendants' securities fraud.

      26.     BR SUPPORT SERVICES, LLC is an Arizona limited liability company which

   received investors' proceeds emanating from the Defendants' securities fraud.
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      27.     BUNGALOWS TI, LLC is a Florida limited liability company which received

    investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

   the Funds.


      28.     CAPRI HAVEN,LLC is a Florida limited liability company which received investors'

    proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.

      29.     EA NY, LLC is a New York limited liability company which received investors'

    proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.

      30.     EQUIALT 519 3RD AVE S., LLC is a Florida limited liability company which

    received investors' proceeds emanating from the Defendants' securities fraud and holds assets

    belonging to the Funds.

      31.     MCDONALD REVOCABLE LIVING TRUST is a trust for the benefit of a relative

   of Davison which received investors' proceeds emanating from the Defendants' securities fraud

   and holds assets belonging to the Funds.

      32.     SILVER SANDS TI, LLC is a Florida limited liability company which received

   investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

   the Funds.


      33.     TB OLDEST HOUSE EST. 1842, LLC is a Florida limited liability company which

   received investors' proceeds emanating from the Defendants' securities fraud and holds assets

    belonging to the Funds.

   III.       JURISDICTION AND VENUE

      34.     This Court has jurisdiction over this action pursuEuit to Sections 21(d), 21 (e), and 27

   ofthe Exchange Act, 15 U.S.C. §§78u(d), 78u(e) and 78aa.
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       35.    This Court has personal jurisdiction over the Defendants and venue is proper in the

    Middle District of Florida because Davison resides in the District, EquiAlt has its principal place

    of business in the District, and the Funds' business operations have been conducted in the District.

    Furthermore, much of the conduct constituting the fraud alleged in this Complaint has occurred in

    the Middle District.

      36.     In connection with the conduct alleged in the Complaint, Defendants, directly and

    indirectly, singly or in concert with others, made use ofthe means or instrumentalities of interstate

    commerce, the means or instruments of transportation or communication in the interstate

    commerce, and of the mails.

                                            IV.        FACTS


                                        A. EquiAlt and its Offerings


      37.     At all relevant times, Davison and Rybicki controlled EquiAlt whose primary business

    was to directly, or indirectly, manage all of the day-to-day operations of Funds including the

    solicitation ofinvestors, and all ofthe Funds accounting and financial activities. Davison formed

    EquiAlt in 2011 and had signature authority over the company's bank accounts. Rybicki managed

    EquiAlt's relationships with various unlicensed sales agents (acting as unregistered broker-

    dealers) who sold the Funds' securities, communicated with investors, and was otherwise involved

    in raising money for the Funds.

      38.     In marketing materials and through its website, EquiAlt claims to own a portfolio of

    revenue-generating condominiums and single and multi-family homes. Meanwhile the private

    placement memorandum for the Funds state that the investment objective of the Funds is to

    purchase and sell single-family properties in distressed real estate markets in the U.S. and

    participate in opportunistic lending in the U.S. In marketing materials provided to prospective
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     investors, EquiAlt boasts that its programs or offerings "protect against market conditions" and

     are "not susceptible to interest rate hikes & lending trends." EquiAlt also claims to provide

     commercial lending investments to construction and development projects,"filling in the gaps left

     by local community banking systems."

       39.     From January 2010 to November 2019, EquiAlt raised more than $170 Million from

    some 1,100 investors though the sale of fixed rate debentures issued by the Funds. Of that total

    amoimt,$145 Million was raised from January 2015 through November 2019. These debentures

    are securities within the meaning of Section 2(a)(1) of the Securities Act and Section 3(a)(10) of

    the Exchange Act. EquiAlt continues to market and raise funds from investors.

       40.     Defendants sold investors one type of security: 3-year or 4 year term debentures of the

    Funds providing a fixed annual return of8% to 10%. Many ofthe investors were elderly, retired

    and used IRAs to flmd their investments in the Funds. Furthermore, many of the investors were

    unaccredited or unsophisticated in that they lacked knowledge and expertise in financial or

    business matters, were not capable of evaluating the merits and risks of the investment, and were

    not otherwise capable of bearing the economic risks ofthe investment. Many ofthe investors were

    attracted by representations that the investments in the Funds were "secure," "safe," "low risk,"

    and "conservative" and by assurances that EquiAlt could not go bankrupt.

       41.    EquiAlt also used in-house employees and unlicensed external sales agents to solicit

    investments from the general public through cold calling campaigns, social media, websites, and

    in-person meetings. Although the private placement memorandum provided to many investors

    stated that the Funds"may" pay commissions or fees to registered broker/dealers or other financial

    intermediaries, the Funds always paid commissions ofanywhere between 10%-14%. In fact, over

    a period of several years the Funds have paid commissions (primarily to Rybicki or his company



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    BR Support Services, LLC)totaling approximately $24 million using investor money. Moreover,

    many of the subscription agreements signed by Rybicki actually stated that the investments are

    being sold without commission.

                                          B. Fraudulent Conduct


       i.     The Defendants Are Conducting a Ponzi Scheme


      42.     The Funds have been operated as a Ponzi scheme almost since their inception. More

    specifically, in a classic Ponzi-scheme fashion, the Funds are paying investors their monthly

    interest payments for the debentures by raising and using new investor funds to pay old investors.

    While Fund 3 is now closed. Fund 1, Fund 2, and the EA SIP Fund have collectively been raising

    from investors approximately $2-3 million per month since January 2018.

      43.     Notably, since the beginning of their operations, the Funds have suffered significant

    financial losses with monthly costs and expenses, including the interest owed to investors, greatly

    exceeding revenues generated from the Funds' business operations.

      44.      Even if Fund 1, Fund 2 and the EA SIP Fund were able to liquidate their real estate

    holdings at their values stated in their internal books and records, the Funds' combined assets

    would fall millions of dollars short of the amount owed to investors by December 2020.

      ii.     Misappropriation of Investor Funds


      45.     Defendants Davison and Rybicki have misappropriated millions of dollars from the

    Funds for their own personal benefit. In fact, between 2017 and 2018 Davison and Rybicki

    received improper cash distributions totaling more than $11 million from the Funds. And in 2019,

    Davison and Rybicki took improper cash distributions from the Funds of $6.1 million and $1.2

    million, respectively, purportedly for the repayment of loans to the Funds.




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       46.     Davison and Rybicki often used this money to purchase high-end personal items such

    as luxury automobiles (such as Ferraris, Porsches and a Rolls Royce), watches, and to charter

    private jets. Davison alone spent more than $2.7 million on luxury automobiles and watches and

    chartering private jets. Davison, in April 2017, also took cash distributions from several of the

    Funds totaling $1.8 million and used the money to pay personal back income taxes owed to the

    Internal Revenue Service.


       47.    In addition to these improper cash distributions, when visiting New York, Davison

    stayed on multiple occasions at one of the Funds' most expensive properties, a $2.7 million

    Manhattan condominium which has never generated any income for the Funds, despite having

    been purchased several years ago with investor money.


       iii.   Misuse of Investor Funds



      48.     Instead of investing their funds as promised, the Defendants have misused millions of

    dollars in several distinct ways - all of which are inconsistent with the private placement

    memorandum provided to investors.

      49.     More specifically, the private placement memorandum for Fund 1, Fund 2, and the EA

    SIP Fund state that investor money would be used to purchase, own, improve and/or sell real

    property. In fact, the private placement memorandum for each ofthese Funds included a detailed

    chart of"projected sources and uses of cash." The chart, however, identified only the following

    six specific uses ofthat cash: investments in property, accounting and tax preparation, legal costs,

    investor relations and communications expenses, marketing and sponsorship event fees, and

    miscellaneous expenses and reserves. While the private placement memoranda for these Funds

    state that "All uses of proceeds are estimated and subject to change," only the above six specific




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    uses ofinvestor proceeds are delineated in the document. An example ofone ofthe charts included

    in the private placement memorandum for Fund 1 is set forth below:

     SOURCES:


     Debentures:



     TOTAL SOURCES:                                                    $50,000,000.00




    USES:


     Investment in Property                           $45,000,000.00
     Accounting and Tax Preparation                   $550,000.00

     Legal Costs                                      $250,000.00

     Investor Relations and Communications Expenses   $2,500,000.00


     Marketing and Sponsorship Event Fees             $200,000.00
     Miscellaneous Expenses and Reserves              $1,500,000.00

     TOTAL USES:                                      $50,000,000.00




      50.       Despite the restrictions of use contained in the private placement memoranda, the

    Defendants misused investor funds in several ways, including (a) money from one Fund being

    used to purchase real estate for another Fund or for third party entities owned by Davison;(b)

    money from one Fund being used to pay investors in another Fund;(c) substantial undisclosed

    commissions paid to unregistered sales agents; (d) substantial undisclosed fees such as due

    diligence fees, management fees, success fees, auction fees, underwriting fees, purchase discount

    fees, and bonuses paid to EquiAlt and Davison; and (e) substantial improper cash distributions to

    Davison and Rybicki. The misuse of investor funds was not an isolated event but rather was

    continuous over a period of several years and totaled millions of dollars.

                                C. Misrepresentations and Omissions to Investors

       i.       False Claims About Use of Investor Funds


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       51.    The Defendants have misrepresented to investors how their money would be used by

    the Funds. For example, the private placement memoranda for Fund 1, Fund 2, and the EA SIP

    Fund indicate that approximately 90% of investor funds would be used to "invest in property."

    Yet,less than 50% ofinvestor funds were actually used for that purpose. Indeed, a substantial part

    ofthe remaining funds was used for improper purposes such as the payment of millions of dollars

    in fees and bonuses to EquiAlt and others. None ofthese other fees were described in the offering

    documents or marketing materials sent to investors.

       52.    As alleged above in paragraph 49, the private placement memoranda for Fund I, Fund

    2, and the EA SIP Fund disclosed a list of specific uses of investor funds. This list, however, did

    not disclose that the Funds would use investor money to pay EquiAlt extraneous fees described

    above totaling millions of dollars. For example, although not disclosed to investors, the Funds

    paid EquiAlt a so-called "discount fee" or the difference in the listed sales price for a particular

    property and the ultimate purchase priced paid by the Fund to acquire such property. Instead of

    benefiting from a lower ultimate sales price for the property,the Funds paid the actual cost savings

    to EquiAlt as a discount fee. No aspect ofthis fee was ever disclosed to investors who were already

    paying substantial management and other fees to EquiAlt supposedly to manage the Funds.

       53.    The Defendants also failed to disclose to investors that more than $6.61 million of

    investor money would be transferred between the Funds with the money raised by one Fund being

    used to pay the debts and obligations of another Fund. For example, in December 2015, Fund 1

    and Fund 2 transferred, respectively $1.29 million and $1.08 million to Fund 3, which Fund 3 used

    to pay approximately $2.3 million in principal and interest to its investors. Fund 3 could not have

    made these payments without the cash infusion from Funds 1 and 2.




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       54.    The Defendants also failed to adequately disclose to investors that their funds would be

    used to pay commissions to unlicensed third party sales agents. First, many of the subscription

    agreements signed by Rybicki stated that investments in the Funds were being sold without the

    payment of a commission. Furthermore, while the private placement memoranda provided to

    investors stated that the Funds "may" pay commissions to sales agents, in reality commissions

    were always paid in connection with the sale ofthe Funds' investments. In addition, in many cases

    investors never received the private placement memoranda and were not informed about any

    commission being paid in connection with their investment.

       55.    Investors were also misled about the payment of management fees to EquiAlt.

    Although EquiAlt collected substantial management fees from the Funds, many investors were

    expressly told that no management fees would be paid to EquiAlt. For example, EquiAlt's

    President of Business Development and Marketing stated to Fund 2 investors in writing that

    EquiAlt had no management fees.

      56.     Moreover, although the PPMs for all the Funds state that "the Manager will receive

    Management Fees as set forth in the Operating Agreement and as described more fully below,"

    there is no description elsewhere in the PPMs (or in the Operating Agreements, which were not

    sent to investors) of what or how the management fees would be paid. Nowhere in the offering

    materials is there any disclosure to investors that Equilat and Davision would receive more than

    $6.67 million in "management fees" from the Funds or of the millions of dollars in other fees

    described above.

       ii.     False Statements About Risk


      57.     Investors were misled about the safety and risk of their investments. While pitching

    investments in the Funds, the Defendants represented that the investments were "low risk," "safe.



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    and "conservative." Investors were even told that the Funds had "never lost investor dollars since

    inception." The investments, however, were anything but low risk, safe or conservative. In fact,

    the Funds have suffered substantial financial losses since their inception. Furthermore, Davison

    and Rybicki have depleted the Funds' assets through a years-long scheme involving outright

    misappropriation and misuse ofinvestor funds.

       iii.    False Statements About Registration With the Commission and Compliance with
               Applicable Laws

      58.     EquiAlt falsely told investors in at least one Fund (Fund 2) it was registered with the

    Commission since 2009. In truth, neither EquiAlt nor the Funds have ever been registered with

    the Commission in any capacity.

      59.     Written sales materials provided to investors also stated that "payments to licensed

    brokers and/or finders may be made in compliance with applicable federal and state securities

    laws." In reality, during a period of several years the Funds and BR Support Services, LLC paid

    commissions totaling millions of dollars to unlicensed sales agents deployed by EquiAlt to market

    and promote the Funds' investments.

       iv.    False Statements About Fund Management

      60.     Investors were even misled about the persons involved in managing the Funds. At least

    two different versions of the private placement memoranda for Fund 1 and Fund 2 identified an

    individual referred to herein as"DD" as a CPA with an MBA degree who was serving as EquiAlt's

    ChiefFinancial Officer. The description ofDD's professional background highlighted DD's prior

    experience at a Big-Four accounting firm, with SEC reporting requirements, as a CFO of a $100

    million real estate mortgage and title company, and as an author. However, DD has never worked

    as EquiAlt's CFO.




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                                               V. CLAIMS FOR RELIEF

                                                    COUNT I

                            Violations of Sections 5(a) and 5(c) of the Securities Act

                                            (Against all Defendants)

      61.         The Commission repeats and realleges paragraphs 1 through 60 of this Complaint as if

    fully set forth herein.

      62.         No registration statement was filed or in effect with the Commission pursuant to the

    Securities Act with respect to the securities issued by the Defendants subject to this count as

    described in this Complaint and no exemption from registration existed with respect to these

    securities.


       63. From January 2011 through the present, the Defendants directly and indirectly:


                      (a)      made use of any means or instruments of transportation or communication
                               in interstate commerce or of the mails to sell securities, through the use or
                               medium ofa prospectus or otherwise;


                     (b)       carried or caused to be carried securities through the mails or in interstate
                               commerce, by any means or instruments of transportation, for the purpose
                               of sale or delivery after sale; or


                     (c)       made use of any means or instruments of transportation or communication
                              in interstate commerce or ofthe mails to offer to sell or offer to buy through
                              the use or medium of any prospectus or otherwise any security.


    without a registration statement having been filed or being in effect with the Commission as to

    such securities.

      64.     By reason of the foregoing the Defendants have directly or indirectly violated, and

    unless enjoined and restrained are reasonably likely to continue to violate Sections 5(a) and 5(c)

    ofthe Securities Act, 15 U.S.C. §§ 77e(a)and 77e(c).


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                                                  COUNT 11


                              Violations of Section 17(a)(1) of the Securities Act
                                          (Against All Defendants)

       65.     The Commission repeats and realleges paragraphs 1 through 60 ofthis Complaint as if

    fully set forth herein.

       66.     From January 2011 through the present,the Defendants, in the offer or sale of securities

    by use of the means or instruments of transportation or communication in interstate commerce or

    by use of the mails, directly or indirectly, knowingly or recklessly employed devices, schemes or

    artifices to defraud.


       67.     By reason of the foregoing, the Defendants have directly or indirectly violated, and

    unless enjoined and restrained are reasonably likely to continue to violate. Section 17(a)(1) ofthe

    Securities Act, 15 U.S.C. § 77q(a)(l).

                                                   COUNT III


                               Violations of Section 17(a)(2) of the Securities Act
                                           (Against All Defendants)


      68.      The Commission repeats and realleges Paragraphs 1 through 60 ofthis Complaint as if

    fully set forth herein.

      69.      From January 2011 through the present,the Defendants, in the offer or sale of securities

    by use of the means or instruments of transportation or communication in interstate commerce or

    by the use ofthe mails, directly or indirectly negligently obtained money or property by means of

    untrue statements of material facts or omissions to state material facts necessary to make the

    statements made,in the light ofthe circumstances under which they were made, not misleading.

      70.     By reason of the foregoing, the Defendants have directly or indirectly violated, and

    unless enjoined and restrained, are reasonably likely to continue to violate. Section 17(a)(2) ofthe

    Securities Act, 15 U.S.C. § 77q(a)(2).

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                                                 COUNT IV


                              Violations of Section 17(a)(3) of the Securities Act
                                          (Against All Defendants)


       71.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

    fully set forth herein.

       72.     From January 2011 through the present, the Defendants, in the offer or sale ofsecurities

    by use ofthe means or instruments oftransportation or communication in interstate commerce and

    by the use of the mails, directly or indirectly negligently engaged in transactions, practices and

    courses of business which have operated, are now operating or will operate as a fraud or deceit

    upon the purchasers.

       73.     By reason of the foregoing, the Defendants have directly or indirectly violated, and

    unless enjoined and restrained, are reasonably likely to continue to violate. Section 17(a)(3) ofthe

    Securities Act, 15 U.S.C. § 77q(a)(3).

                                                  COUNT V



                  Violations of Section 10(b) and Rule 10b-5(a) of the Exchange Act

                                          (Against All Defendants)

       74.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

    fully set forth herein.

       75.     From January 2011 through the present, the Defendants, directly and indirectly, by use

    of the means and instrumentalities of interstate commerce, or of the mails in connection with the

    purchase or sale of securities, knowingly or recklessly employed devices, schemes or artifices to

    defraud.




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       76.    By reason ofthe foregoing, the Defendants have directly or indirectly directly violated,

    and unless enjoined and restrained, are reasonably likely to continue to violate. Section 10(b) of

    the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(a), 17 C.F.R. § 240.10b-5(a), thereunder.

                                              COUNT VI



                  Violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act

                                       (Against All Defendants)



       77.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

    fully set forth herein.

       78.     From January 2011 through the present, the Defendants, directly and indirectly, by use

    of the means and instrumentalities of interstate commerce, or of the mails in connection with the

    purchase or sale ofsecurities, knowingly or recklessly made untrue statements of material facts or

    omitted to state material facts necessary in order to make the statements made, in light of the

    circumstances under which they were made, not misleading.

       79.     By reason of the foregoing, the Defendants have directly and indirectly violated, and

    unless enjoined, are reasonably likely to continue to violate. Section 10(b) of the Exchange Act,

    15 U.S.C. § 78j(b), and Rule 10b-5(b), 17 C.F.R. § 240.10b-5(b), thereunder.

                                              COUNT VII



                  Violations of Section 10(b) and Rule 10b-5(c) of the Exchange Act

                                       (Against All Defendants)


       80.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

    fully set forth herein.




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      81.      From January 2011 through the present, the Defendants, directly and indirectly, by use

    of the means and instrumentalities of interstate commerce, or of the mails in connection with the

    purchase or sale of securities, knowingly or recklessly engaged in acts, practices and courses of

    business which operated as a fraud upon the purchasers of such securities,

      82.      By reason of the foregoing, the Defendants have directly and indirectly violated, and

    unless enjoined and restrained, are reasonably likely to continue to violate. Section 10(b) of the

    Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(c), 17 C.F.R. § 240.10b-5(c), thereunder.

                                              COUNT VIII

                     Section 20(a) of the Exchange Act- Control Person Liabilitv


    (Against Davison and Rvbicki for EquiAlt Fund 1, Fund 2,Fund 3 and the EA SIP Fund*s
                   Violations of Section 10(b) and Rule lOb-5 of the Exchange Act)


       83.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

    fully set forth herein.

       84.     From January 2011 through the present Davison and Rybicki have been, directly or

    indirectly, control persons of EquiAlt, Fund 1, Fund 2, Fund 3,and the EA SIP Fund for purposes

    of Section 20(a)of the Exchange Act, 15 U.S.C. § 78t(a).

       85.     From January 2011 through the present, EquiAlt, Fund 1, Fund 2, Fund 3, and the EA

    SIP Fund have violated Section 10(b) and Rule lOb-5 ofthe Exchange Act.

       86.     As control persons of EquiAlt, Fund 1, Fund 2,Fund 3 and the EA SIP Fund are jointly

    and severally liable with and to the same extent as EquiAlt, Fund 1, Fund 2, Fund 3 and the EA

    SIP Fund for each of their violations of Section 10(b) and Rule lOb-5 ofthe Exchange Act.

      87.      By reason of the foregoing, Davison and Rybicki have directly and indirectly violated,

    and unless enjoined and restrained, are reasonably likely to continue to violate. Sections 10(b)and


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    20(a) and Rule lOb-5 of the Exchange Act, 15 U.S.C. § 78j(b) and § 78t(a), and 17 C.F.R.

    §240.10b-5.


                                                  COUNT IX


                 Aiding and Abetting Violations of Section 15(a) of the Exchange Act

                                 (Against EquiAit Davison, and Rvbicki)

       88.     The Commission repeats and realleges paragraphs 1 through 60 of this Complaint as if

    fully set forth herein.

       89.     Several unlicensed sales agents used by Defendants to sell the Funds' securities acted

    as brokers or dealers and have made use ofthe mails or any means or instrumentality of interstate

    commerce to effect transactions in securities, or to induce or attempt to induce the purchase or sale

    of securities, without being associated with a broker or dealer that was registered with the

    Commission in accordance with Section 15(b) of the Exchange Act, 15 U.S.C. § 78o(b), in

    violation of Section 15(a) of the Exchange Act 15 U.S.C. § 78o(a).

       90.     These agents solicited investments in the Funds, provided investors with offering

    materials, provided advice on the merits of the investment, and received transaction-based

    compensation. They have never been registered with the Commission as broker-dealers or

    associated with a registered broker-dealer.

      91.      Defendants EquiAlt, Davison, and Rybicki, knowingly or recklessly, substantially

    assisted the violations of Section 15(a) of the Exchange Act by these unlicensed sales agents.

    Unless enjoined. Defendants EquiAlt, Davison, and Rybicki are reasonably likely to continue to

    provide substantial assistance in connection with the violations of Section 15(a) of the Exchange

    Act by these unlicensed sales agents.




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                                        RELIEF REQUESTED

           WHEREFORE, the Commission respectfully requests the Court find the Defendants

    committed the violations alleged, and:

                                                   A.
         Temporary Restraining Order,Permanent Iniunctive and Permanent Injunction

           Issue a   Temporary Restraining Order, a Preliminary Injunction and a Permanent

    Injunction and restraining and enjoining:(1)the Defendants from violating Sections 5(a)and 5(c)

    and 17(a) of the Securities Act and Sections 10(b) and 15(a)(1) and Rule lOb-5 of the Exchange

    Act;(2)Davison and Rybicki from violating Section 20(a) ofthe Exchange Act; and (3)EquiAlt,

    Davison and Rybicki from aiding and abetting violations of Section 15(a)of the Exchange Act.

                                                   B.
                                              Asset Freeze


           Issue an Order freezing the assets ofthe Defendants and Relief Defendants.

                                                   C.
                                      Appointment of a Receiver


           Appoint a receiver over Defendants EquiAlt, Fundl, Fund 2, Fund 3, EA SIP Fund, and

    the Relief Defendants.


                                                   D.
                                         Records Preservation


           Issue an Order restraining and enjoining Defendants and ReliefDefendants,their directors,

    officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

    concert or participation with any one or more of them, and each of them, from, directly or

    indirectly, destroying, mutilating, concealing, altering, disposing of, or otherwise rendering

    illegible in any manner, and of the books, records, documents, correspondence, brochures,

    manuals, papers, ledgers, accounts, statements, obligations, files and other property of or

    pertaining to Defendants and ReliefDefendants, wherever located and in whatever form,electronic

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    or otherwise, that refer or relate to the acts or courses of conduct alleged in this Complaint, until

    further Order of this Court.

                                                      E.
                                             Sworn Accounting


           Issue an Order directing Defendants and Relief Defendants to provide a sworn accounting

    of all assets and liabilities, including all monies and real properties directly or indirectly received

    from investors and all uses of investor funds.

                                                      F.
                                 Disgorgement and Preiudgment Interest


           Issue an Order directing the Defendants and Relief Defendants to disgorge all ill-gotten

    gains or proceeds received from investors as a result of the acts and/or courses of conduct

    complained of herein, with prejudgment interest thereon.

                                                    G.
                                           Civil Money Penalties

           Issue an Order directing the Defendants to pay civil money penalties pursuant to Section

    20(d)ofthe Securities Act and Section 21(d)ofthe Exchange Act.

                                                      H.
                                               Further Relief


           Grant such other and further relief as may be necessary and appropriate.

                                                      I.
                                         Retention of Jurisdiction


           Further, the Commission respectfully requests that the Court retain jurisdiction over this

    action in order to implement and carry out the terms of all orders and decrees that it may enter, or

    to entertain any suitable application or motion by the Commission for additional relief within the

   jurisdiction of this Court.




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                                  DEMAND FOR JURY TRIAL


          The Commission hereby demands a trial by jury in this case.



                                              Respectfully submitted,



    February 11, 2020
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                                              Senior Trial Counsel
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                                              Email: iohnsonali@sec.gov

                                              Attorney for Plaintiff
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                                              Miami, Florida 33131
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                                              Facsimile:(305)536-4154




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                                                                               CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filina and service of pleadings or other papers as required by law, except as
    provided bv local rules of court. This form, approved by the Judicial Conference of the United Stales in ^leptembcr 1974, is required for the use of the Clerk of Court for the
    purpose ofinitiating the civil docket sheet. (Siui immucTioNS ON NE.rn'AC,!-:or THIS FORM.)

                                                    COMMISSION                                                     DAVrSO'N:Briah;®RYBICKI, Barry M; EQUIALT LLC; EQUIALT FUND,
                                                                                                                   LLC; EQUIALT FUND II, LLC; EQUIALT FUND III, LLC; EA SIP, LLC

      (b) County ofResidence of First Listed Plaintiff                                                              County ofResidence of First Listed Defendant                     Hlllsborough
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      (c) Attorneys (Firm Name. AMres.i. and Telephone Number)                                                       Attorneys (IfKnown)
    Aiise Johnson, Esq.
    SEC. 801 Brickell Ave., Suite 1950, Miami, FL 33131;
    (305) 982-6385; johnsonali@sec.gov

II. BASIS OF JURISDICTION (Place an "X"in One ISoxOnly)                                                III. CITIZENSHIP OF PRINCIPAL PARTIES tPlace an                                                 in One liox far Plaintiff
                                                                                                                (For l>iver.\ilv ( u.vcv Only)                                         and One Fax for Defendant)
           U.S. Government               □ 3      Federal Question                                                                           PTF       DEF                                                 PTF         DEF

              PtaintilT                              (U.S. (lovemmeni Not a Party)                         Citizen ofTtiis State             O   I      O     I   Incorporated or Principal Place            0 4       0 4
                                                                                                                                                                    of Business In This State


O 2        U.S. Government               □ 4      Diversity                                                Citizen of Another State          O 2        O     2   Incorporated (/«</Principal Place          0 5       0 5
              Defendant                              (Indicate Citizenship of Puniex in hem III)                                                                    of Business In Another State

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    IV. NATURE OF SUIT fPlacean "X" in One Box Only)                                                                                                    Click here for: Nature of Suit Code Descriptions.
1             rONTRACT                                                TORTS                                   FORFEITURE/PENALTY                            BANKRUPTCY                       OTHER STATU TES                 1

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    □ 120 Marine                        □ 3)0 Airplane                   O .365 Personal Injury -                ofPropeny2l USC 881             0 423 Withdrawal                     3 .376 Qui Tarn (.31 USC
    □ 130 Miller Act                    C? 315 Airplane Product                   Product Liabilitv        □ 690 Other                                      28 USC 157                       3729(a))
    0 140 Negotiable Instrument                Liability                 □ 367 Health Care/                                                                                           3 400 Stale Reapponionmem
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           of Veteran's Benefits        □ 350 Motor Vehicle              □ 370 Other Fraud                 □ 710 Fair Labor Slandard.s           3 861 HIA (1.3<)5fr)                           (15 USC 168] or 1692)
    0 160 Stockholders'Suits            O 355 Motor X'ehieic             □ 371 Truth in Lending                    Act                           3 862Bl.ack Lung (92.3)              3 485 Telephone Consumer
    □ 190 Other Contract                        Product Liabilitj'       □ 380 Other Personal              □ 720 LaborManagcmcm                  3 863 DIWC/DIWW (405(g))                       Protection Act
    0 195 Contract Product Liability    n 360 Other Personal                     IVopcrty Damage                   Relations                     3 864 SSID Title XVI                 3 490 Cable/Sat TV
    0 1% Franchise                            Injury                     n 385 Propedy Damage              □ 740 Railway Labor Act               3 865 RSI (405(g))                   3f 850 Securities/Commodities/
                                        □ 362 Personal Injurj' -               Product Liatiility          □ 751 Family and Medical                                                            Exchange
                                                Medical Malpractice                                                Leave Act                                                          3   890 Other Statutory Actions
1          REAL PROPERTY                    CIVIL RIGHTS                  PRISONER PETITIONS               0 790 Other Labor Litigation               FEDERAL TAX SUITS               3   891 .Agricultural Acts
    0 210 Land Condemnation             □ 440 Other Civil Rights             Habeas Corpu.s:               □ 791 Employee Retirement             3 870 Taxes (U.S. Plaintiff          3 893 Environmental Matters
    C1 220 Forcclo.sure                 □ 44! Voting                     □ 463 Alien Detainee                    Income Sceiuily Act                   or Defendant)                  3 895 Freedom of Infonnation
    □ 230 Rent l.easc & Ejcctmeni       lI 442 Employment                n 510 Motions to Vacate                                                 3 871 IR.S—'Hiird Party                        Act
    □ 240 Tons to Land                  □ 443 Housing/                           Sentence                                                                   26 USC 7609               3 896 Arbitration
    0 245 Ton Product Liability                 Accoinmodalions          n 530 General                                                                                                □ 899 Administrative Procedure
    □ 290 All Other Real Property       0 445 Arner. w/Disabilities - D 535 Death Pcnaltv                          IMMIGRATION                                                                Act/Review or Appeal of
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    V. ORIGIN (Place an "X" in One Box Only)
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           Proceeding               State Court                         Appellate Court                   Reopened                  Another District                   Litigation-                    Litigation -
                                                                                                                                      (speedy)                            Transfer                       Direct File
                                            Cite the U.S. Civil Statute under which vou arc fi ling//)" nnteitejurudictionalslnluies unless diivnityj
                                               15 U.S.C. §§ 77e(a) and 77e(c); 77q(a)(1-3); 78i(b), 78o(a-b). 78t(a); 17 C.F.R. § 240.10b-5(a-c)
    VI. CAUSE OF ACTION
                                            Brief de.scriplion of cause:
                                            violation of federal securities laws
    VII. REQUESTED IN                       O CHLCK IF THIS IS A CLASS .VCITON                                DEMAND S IRQ, asset freeze, permCHECK YES only if demanded in complaint:
           COMPLAINT:                               UNDER RULE 23, F R Cv.P                        inj, disgorgemcnt, PJI.civ pen., sworn acclg               JURY DEMAND;                       Yes         ONo
    VIII. RELATED CASE(S)
                                                (See instruelions):
            IF ANY                                                       JUDGE                                                                        DOCKET NUMBER

    DATE                                                                     SIGNATU/tE OF ATfORNEY OF RECORQ,
    February 11, 2020
                                                                                               U P
    FOR OFFICE USE ONLY


      RECEIPT U                     AMOUNT                                       APPLYING IFP                                        JUDGE                                MAG JUDGE
